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6                                   U.S. DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
7                                 SAN FRANCISCO DIVISION
8
     JOHN MARTIN,                                      Case No.: 3:13-CV-04706 WHA
9
               Plaintiff,                                PLAINTIFF AND DEFENDANT
10                                                       EXPERIAN’S STIPULATION TO
               vs.                                       DISMISS DEFENDANT EXPERIAN
11                                                       INFORMATION SOLUTIONS, INC.,
                                                         AND PROPOSED ORDER
12   CREDIT               CONSULTING
     SERVICES, INC. an incorporated
13
     business     entity;    EXPERIAN
14   INFORMATION           SOLUTIONS,
     INC.,     an  incorporated  entity;
15   EQUIFAX, INC., an incorporated
     entity; and DOES 1 through 100,
16   inclusive,
17             Defendants.
18
               Plaintiff and Defendant EXPERIAN herein stipulate and request this Honorable Court to
19
     dismiss, with prejudice, Defendant EXPERIAN INFORMATION SOLUTIONS, INC. from the instant
20
     action.
21
     DATED: March 12, 2014
22
     /s/ Jared M. Hartman                         /s/ Deborah A. Hedley
23   Jared M. Hartman                             Deborah A. Hedley
     Attorney for Plaintiff John Martin           Attorney for Defendant Experian
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1
                                           COURT ORDER
2
           Defendant EXPERIAN INFORMATION SOLUTIONS, INC. is hereby DISMISSED, WITH
3
     PREJUDICE, from the instant action.
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     IT IS SO ORDERED.
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     Dated: March 12, 2014.
                                                    The Honorable William H. Alsup
8
                                                    UNITED STATES DISTRICT JUDGE
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